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B O I E S




                    16                 UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                    17
                    18 BROIDY CAPITAL MANAGEMENT                Case No. 2:18-CV-02421
                    19 LLC, ELLIOTT BROIDY, and ROBIN
                       ROSENZWEIG,                              The Honorable John F. Walter
                    20              Plaintiffs,                 DECLARATION OF JOEL
                    21                                          MOWBRAY IN SUPPORT OF
                              v.                                PLAINTIFFS’ EX PARTE
                    22 STATE OF QATAR, STONINGTON               APPLICATION FOR (1)
                                                                TEMPORARY RESTRAINING
                    23 STRATEGIES  LLC, NICOLAS D.
                       MUZIN, and DOES 1-10,
                                                                ORDER AGAINST DEFENDANTS;
                                                                (2) ORDER TO SHOW CAUSE FOR
                    24                                          PRELIMINARY INJUNCTION;
                                    Defendants.                 AND (3) ORDER GRANTING
                    25                                          EXPEDITED DISCOVERY

                    26                                          [Ex Parte Application; Memorandum
                                                                of Points and Authorities;
                    27                                          Declarations of Elliott Broidy, Lee
                                                                Wolosky, and Luke Tenery;
                    28                                          [Proposed] Temporary Restraining
                                                                                    Case No. 2:18-CV-02421
                                                                          DECLARATION OF JOEL MOWBRAY
                  Case 2:18-cv-02421-JFW-E Document 31-4 Filed 04/02/18 Page 2 of 12 Page ID #:160



                                                                Order, Order to Show Cause
                     1                                          Regarding Preliminary Injunction,
                                                                and Order Granting Expedited
                     2                                          Discovery, and [Proposed] Order
                                                                Granting Preliminary Injunction filed
                     3                                          concurrently herewith]
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                                                                          DECLARATION OF JOEL MOWBRAY
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